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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO. 12-06-00326-CR

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IN THE COURT OF APPEALS

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TWELFTH COURT OF APPEALS
DISTRICT

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TYLER, TEXAS

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SHERRY ANN THARPE,&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL FROM THE
173RD

APPELLANT

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V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDICIAL DISTRICT COURT OF

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THE STATE OF TEXAS,

APPELLEE&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; HENDERSON COUNTY, TEXAS

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MEMORANDUM
OPINION

PER CURIAM

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant has filed a motion to
dismiss this appeal.&nbsp; The motion is
signed by Appellant and her counsel.&nbsp; No
decision having been delivered by this Court, the motion is granted, and the
appeal is dismissed in accordance with Texas Rule of Appellate Procedure 42.2.

Opinion delivered September 29, 2006.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.

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(DO
NOT PUBLISH)





